          21-03009-hcm
El Paso County - County CourtDoc#1-55
                              at Law 6    Filed 05/03/21 Entered 05/03/21 19:21:25 Exhibit
                                                                                     Filed Tab  52 Pg11:52
                                                                                           10/26/2020 1 of AM
                                                            2                                  Norma Favela Barceleau
                                                                                                                  District Clerk
                                                                                                               El Paso County
                                                                                                               2020DCV0914
                                                      No. 2020DCV0914

             WESTAR INVESTORS GROUP, LLC,    §                               IN THE COUNTY COURT
             SUHAIL BAWA, and SALEEM MAKANI  §
                                             §
                  Plaintiffs,                §                               AT LAW NUMBER SIX (6)
                                             §
             v.                              §
                                             §                               EL PASO COUNTY, TEXAS
             THE GATEWAY VENTURES, LLC, PDG §
             PRESTIGE, INC., MICHAEL DIXSON, §
             SURESH KUMAR, and BANKIM BHATT §
                                             §
                  Defendants.                §

                             MOTION TO EXTEND THE TIME LIMIT OF DEPOSITIONS

                     Defendant, Suresh Kumar (“Kumar”), files this, his Motion to Extend the Time Limit of

            Depositions for Plaintiffs Suhail Bawa and Saleem Makani (collectively referred to herein as

            “Plaintiffs”), and, in support thereof, would respectfully show as follows:

                     1.       In accordance with Rule 199.5(c), generally, each party has the right to examine

            or cross-examine a witness for up to six hours. Tex. R. Civ. Pro. 199.5(c). This matter is

            document-intensive. Through the written discovery that has been completed to date, voluminous

            documents have been produced. Further, it is anticipated that additional documents will be

            produced.

                     2.       The six-hour time limit will create a burden on Kumar in his examination of

            Plaintiffs. As such, Kumar requests that the Court allow each party up to no more than 12 hours

            to examine and/or cross examine Plaintiffs.

                     3.       Kumar prays that notices be issued, that a hearing be set for this motion, that the

            Court extend the time limitation for the depositions of Plaintiffs and for such other and further

            relief to which Kumar is justly entitled.



            {11751.1/HDAV/06780869.1}                          1
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                                        2




                                                   GORDON DAVIS JOHNSON & SHANE P.C.

                                                                       /s/Harrel L. Davis III
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                                                                       hdavis@eplawyers.com

                                                                       Attorney for Defendant
                                                                       Suresh Kumar



                                   CERTIFICATE OF SERVICE

           In accordance with the Texas Rules of Civil Procedure, I hereby certify that on October 26,
  2020, the foregoing document was electronically filed with the clerk of the court and a true and
  correct copy was electronically served on the parties/attorneys of record listed through the
  efile.txcourts.gov system.

                                                                       /s/Harrel L. Davis III
                                                                       Harrel L. Davis III




  {11751.1/HDAV/06780869.1}                        2
